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FORECLOSURE MEDIATION — STATE OF CONNECTICUT

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wo wwwjudetgov \iite, i
SUNS AEESSRTGNEROS™ = A UPERIGR COURT
LY
C.G.S. § 48-31k-n “JUDICIAL DISRICT | The Judielal Branch of the State of
Instructions to parson filing this form Connecticut aa Ay ne Americans with
_ 1. Type or print legibly. . ) Disabilities Act (ADA). If you neasd a
2. Fill out section | or tl of thig form and fila it with the court, 018 JUL 20 A IO: W2 teasonable accommodation In accordance
3. An Appearance form (JD-CL-12) must be filed with this form If an with the ADA, contact a court clark or an ADA
appearance has not already bean filed with the court, contact person listed at wwwjud.ct.gav/ADA.
Name of case (Plainiiff v. Defendent) Docket number
Wilmington Trust, National Association vs. Krishna, Sunetta FST CV 18 6036479 s
Judiclal dlateict Return date
Stamford/Norwalk at Stamford , May 29, 2018
|. Motlon for Permission to file a Foraclosure Mediation Certificate or Request PPMP
later than 15 days after the return date: ITHINTSIAN

| request permission to file the Foreclosure Mediation Certificate (JD-CV-108) or Foreclosure
Mediation Request (JD-CV-93) accompanying this motion far the follawing reasan:

1 have been Ii} (kidney transplant) and under doctors care for some time and was t unaware of my rights to request medietion. I have

to finalize a deal, tam still walting for the 2 Paper work.

OR
ll. Motion for Modification of Mediation Period: -L__FMMOD
! request that the mediation period be modified, as follows: INC
(_] Extend the mediation period to for the following reason:
. (Date)
—_ OR
([] Shorten the mediation period to for the following reason: FMSHORT
(Pale) . LEDGE
Signature of peraon submitting motion Print name of person signing . Date signed
Addrasa (Number, street, town, slate, zip code) . Talapnone number
Certification /
{ certify that a copy of this document was or will Immediately be malled or delivered elactronically or non-electronically on
(date) 7/20/18 to all attorneys and self-represented partles of record and that written consent for electronic dallvery was

recelved from all attornays and self-rapresented parties of record who recelved or will Immediately be recelving electronic delivery.
Name snd address of each party and attorney that copy was or will be mailed ar delivered to*

McCaila Raymer Leibart Pierce LLC, 50 Weston Street, Hartford, CT 06120 -
vate Law Group, 275 West Natick Road, Suite 500, Warwick, RI 02886

“If necagtary, attach additional sheet or sheets.with name and address which the copy wae or will be malled or dallvered to. .
Signature X Person Print name of person signing Bate signed

> _—_— | Krishna 7/20/18

Malling addresa (Number, sireet, town, state and zip code) Telephone numbar
1769 Oenoke Ridge, New Canaan, .CT 06840 :

Order (For Court Use Only) [_] Granted until: ‘.  ['] Denied

By the Court (Uudge/Clerk) / Date

RO Ringrit.

[\% .00
